The plaintiff in the above entitled action has attempted to garnish funds in the hands of John H. Yeomans as clerk of the Superior Court in Tolland County, which funds are held by him under the direction of the court and in his official capacity as clerk. John H. Yeomans, as clerk of the Superior Court, is a public officer of the judicial department of the state of Connecticut and acts in behalf of the state in said capacity.
Public officers having money in their hands to which certain individuals are entitled are not liable to the creditors of those individuals in the process of foreign attachment. Stillman v. Isham, 11 Conn. 124,127. "[O]fficers, in the execution of public duties, are not to be embarrassed and perplexed with this process." Ward v. Hartford, 12 Conn. 404, 409. It would involve them in perpetual difficulty and disputes; Spalding v. Imlay, 1 Root 551; and expose them to the expense, the inconvenience and hazard incident to this process. Lewis v. Hopkins, 96 Conn. 356,358.
   Accordingly, for the foregoing reasons, the motion to dissolve garnishee process, dated February 24, 1965, is granted.